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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors. 1                         (Jointly Administered)

                                                                      Ref. Docket No. ___

       ORDER GRANTING MOTION OF DEBTORS TO SHORTEN NOTICE AND
      SCHEDULE HEARING ON DEBTORS’ EMERGENCY MOTION TO ASSUME
          AND/OR ENTER INTO REIMBURSEMENT AGREEMENTS WITH
           PROFESSIONALS FOR THE AD HOC NOTEHOLDER GROUP

         Upon the motion (the “Motion to Shorten”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) pursuant to Del. Bankr.

L.R. 9006-1(e) scheduling an expedited hearing and shortening notice of the Bondholder Fee

Motion (the “Motion”); the Court having considered the Motion to Shorten; the Court finding that

(a) the Court has jurisdiction for a hearing pursuant to 28 U.S.C. §§ 157 and 1334, (b) the Motion

to Shorten is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and (c) venue is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion to Shorten being adequate and sufficient;

and after due deliberation and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.      The Motion to Shorten is GRANTED.




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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         2.       A hearing to consider the Motion shall be held on August 30, 2023 at 3:00 p.m.

prevailing Eastern Time (the “Hearing”).

         3.       The Hearing shall be conducted by Zoom.

         4.       Objections or responses to the Motion, if any, must be filed on or before the Hearing

or may be raised at the Hearing.

         5.       The Debtors shall immediately serve a copy of this Order and a notice for the

Hearing on the Motion in the manner described in the Motion to Shorten.

         6.       This Court shall retain jurisdiction to enforce and interpret the provisions of this

Order.




              Dated: August 25th, 2023              THOMAS M. HORAN
              Wilmington, Delaware                  UNITED STATES BANKRUPTCY JUDGE



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